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                    UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
____________________________________

CITY OF GRAND RAPIDS,
          Plaintiff/Counter-Defendant,             Case No. 1:17-cv-00113-PLM-RSK

vs.

GRAND RAPIDS POLICE COMMAND                        Hon. Paul L. Maloney
OFFICERS ASSOCIATION,
MATTHEW JANISKEE, MICHIGAN STATE
POLICE, and JEFFREY GETTING –
KALAMAZOO COUNTY PROSECUTOR,
           Defendants.
-and-

MATTHEW JANISKEE,
         Counter-Plaintiff/Cross-Plaintiff/
         Third-Party Plaintiff.
vs.

CITY OF GRAND RAPIDS,
          Counter-Defendant,

MICHIGAN STATE POLICE and JEFFREY GETTING-
KALAMAZOO COUNTY PROSECUTOR,
          Cross-Defendants,

DAVID RAHINSKI, DANIEL SAVAGE,
DAVID KIDDLE, PETER McWATTERS,
and DAVID SCHNURSTEIN,
           Third-Party Defendants.
______________________________________________________________________

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Scott E. Dwyer (P33131)                       Charles C. Newberg (P79025)
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______________________________________________________________________

                                  PROOF OF SERVICE

               I hereby certify that on September 15, 2017, I served Defendant GRPCOA’s
First Set of Interrogatories directed to Plaintiff/Counter-Defendant, City of Grand Rapids
to the following at their addresses listed above, via United States Mail, with first class
postage fully prepaid:

       John H. Gretzinger                           Andrew J. Rodenhouse
       Scott E. Dwyer                               Charles C. Newberg
       Kurt M. Graham                               Attorneys for Janiskee
       Attorneys for Plaintiff
                                                    Amber D. Beede
       Mark E. Donnelly                             Attorney for Getting
       Dept of Attorney General
       Attorneys for MSP                            Andrew J. Brege
                                                    Attorney for McWatters & Schnurstein

                                  s/ Kimberly Fox____________________
                                  White Schneider PC


Dated: September 15, 2017




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